EXHIBIT 27
                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF MASSACHUSETTS



 AMERICAN ASSOCIATION OF
 UNIVERSITY PROFESSORS—HARVARD
 FACULTY CHAPTER et al.,                              Case No. 1:25-cv-10910

                        Plaintiffs,

                v.

 UNITED STATES DEPARTMENT OF
 JUSTICE et al.,

                        Defendants.



                           DECLARATION OF VICTORIA JENKINS

I, Victoria Jenkins, declare as follows:

       1.      I am a Genome Database Coordinator, a staff scientist position in the Department

of Molecular and Cellular Biology at Harvard University. I have been employed in this position

since 2018.

       2.      I hold a PhD in Cell & Molecular Biology from Boston University.

       3.      I work at FlyBase—a free database of Drosophila (fruit fly) genetics research that

scientists around the world rely on for their work. I extract, interpret, and archive data from a

variety of sources to standardize the data and make it accessible to the public and other researchers.

       4.      I am a member of Harvard Academic Workers, one of the two collective bargaining

units of Harvard’s chapter of the International Union, United Automobile, Aerospace and

Agricultural Implement Workers of America (“HAW–UAW”).




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       5.      I am over the age of 18 and competent to testify as to the matters set forth in this

affidavit based on my own personal knowledge.

       6.      I am aware that the Trump administration has taken a series of actions targeting

Harvard in recent months. In particular, I am aware that on March 10, 2025 the federal government

sent a letter to Harvard and many other universities warning of potential enforcement actions. I am

aware that on March 31, 2025, the federal government announced a comprehensive review of

federal contracts and grants at Harvard University and its affiliates. I am aware that officials from

the Trump administration sent a letter to Harvard on April 3, 2025 demanding that Harvard

immediately take a long list of actions to remain a recipient of federal funding (the “April 3

Letter”). I am aware that this was followed by a subsequent letter from Trump administration

officials on April 11, 2025 with more detailed demands that “incorporate[d] and supersede[d] the

terms” of the April 3 Letter and which the Trump administration proposed would serve “as the

basis for an agreement in principle that will maintain Harvard’s financial relationship with the

federal government” (the “April 11 Letter,” and together with the April 3 Letter, the “Demand

Letters”). Both of the Demand Letters were made public and I have read the demands listed in the

Demand Letters.

       7.      I am aware that on April 14, 2025, the DOJ Task Force to Combat Anti-Semitism

froze over $2 billion in federal grants to Harvard. I understand that the federal government has

since refused to disburse funds obligated to these grants despite receiving requests from Harvard

University to do so.

       8.      I am aware that on May 5, 2025, Secretary of Education Linda McMahon

announced that “Harvard should no longer seek GRANTS from the federal government, since none

will be provided.” I am aware that on May 6, 2025, the National Institutes of Health (“NIH”)



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terminated its grants to Harvard. I am aware that on May 9, 2025, the Department of Agriculture

terminated its grants to Harvard. I am aware that on May 12, 2025, the Department of Energy,

Department of Defense, the National Science Foundation (“NSF”), and the Department of Housing

and Urban Development each terminated their grants to Harvard. Letters communicating each of

these terminations were made public, and I have read each of those letters.

       9.      I am also aware of public statements made by the Trump administration beginning

in early 2025 attacking the work of university researchers and the integrity of American

universities and making a range of threats about how the federal government intended to use its

authority to impose numerous demands on Harvard University specifically.

       10.     I am aware that Harvard University has pledged $250 million in one-time stopgap

funding to replace some of the terminated funds. There are many departments that have been

affected and my department will only get a fraction of that money. This amount is far from the

roughly $2.7 billion in terminated funds and not sufficient or sustainable to cover the

terminated funds countless researchers at Harvard relied on.

       11.     FlyBase is the only database dedicated to the Drosophila (fruit fly) genome and is

essential to the daily work of anyone who works with Drosophila around the world.

       12.     FlyBase received grant funding from the NIH and NSF. On May 19, 2025, I learned

that the grant funding, which was previously frozen, had been terminated.

       13.     The termination of funding will imminently affect my work. Without funding, the

FlyBase website will be frozen later this summer and need to stop updating. This means that newly

discovered genes, data, and other discoveries on Drosophila will not be integrated in the FlyBase

database and shared with the world.




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        14.     The termination of grant funding harms society and will have ripple effects across

the globe, as Drosophila scientists worldwide rely on FlyBase to conduct vital research that

contributes to human medical research and fundamental understandings of biology.

        15.     I am also very concerned about my job security and anticipate layoffs due to the

termination of funding. Years of experience and essential, historical knowledge on the FlyBase

database will be lost.

        16.     I do not believe there is a viable alternate source of funding that would realistically

replace federal funding for FlyBase. In over twenty-five years of FlyBase’s existence, there has

been no viable outside funding source.



I declare under penalty of perjury under the laws of the United States of America that the foregoing

is true and correct.

Dated: May 30, 2025                                    Signed: /s/ Victoria Jenkins

                                                       Victoria Jenkins
                                                       Genome Database Coordinator




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